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                                                                    Tuesday, 25 June, 2019 07:00:43 PM
                                                                          Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )      Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

                      DEFENDANT’S AMENDED EXHIBIT LIST

       Now comes the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and lists the following Exhibits to be used at trial in this cause:

       1.     Christensen Genogram (Family History Summary)

       2.     Christensen Family Home Videos

       3.     Photographs of Brendt Christensen

       4.     Email between Mike and Brendt Christensen dated 6/22/2014

       5.     Email between Mike and Brendt Christensen dated 12/26/2016

       6.     Facebook conversations between Brendt Christensen and Andrea

              Christensen, Matt Christensen, Michelle Zortman, Deb Mitchell, Ellen

              Williams, Andrew Kieper, and Andrew Tolstedt

       7.     American Express financial records of Brendt and Michelle Christensen

       8.     Busey Bank financial records of Brendt and Michelle Christensen

       9.     UW Madison Credit Union financial records of Brendt and Michelle

              Christensen
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10.   Illinois Valley Central High School Yearbook 2012-2013

11.   Educational records of Brendt Christensen, including Stevens Point Area

      Senior High School, Midwest Technical College, University of Wisconsin-

      Madison, University of Illinois, and University of Wisconsin-Stevens Point

12.   Brendt Christensen records of Teaching Assistant Performance and

      student reviews from the University of Illinois

13.   University of Illinois graduate school application

14.   Emails with Elaine Schulte

15.   Emails with Nadya Mason

16.   Text Messages from Brendt Christensen’s cellular telephone

17.   Text Messages from Terra Bulllis’s cellular telephone

18.   Brendt Christensen’s employment applications from Spring 2017

19.   Brendt Christensen’s Macon County Jail Inmate file

20.   Brendt Christensen’s Livingston County Jail Inmate file

21.   FetLife.com messages of Brendt Christensen

22.   Web Browsing History extracted from Brendt Christensen’s computers

      and cellular telephones

23.   Medical records of Brendt Christensen from Shopko Pharmacy, CVS

      Pharmacy, Walgreens Pharmacy, McKinley Health Center, University of

      Illinois Counseling Center, Point Family Practice, Aspirus Wasau,



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      Ascension St. Michael’s, Meriter Hospital, Ministry Medical Group,

      Orthopaedic Associates of Wisconsin

24.   Email from Jennifer Maupin regarding follow-up to Counseling Center

      visit on March 27, 2017

25.   Video from University of Illinois Counseling Center dated 3/27/2017

26.   Selected Medical Records of Ellen Williams from St Michael’s Hospital,

      Medicaid, Aurora Health, Rice Medical Center, Point Family Practice,

      Affiliated Clinical Services, Quad Med

27.   Social Security Records of Ellen Williams

28.   Social Security Records of Michael Christensen

29.   Stevens Point Area High School Conduct Report for Andrea Christensen

30.   Selected Medical Records of Andrea Christensen from Point Family

      Practice

31.   University of Wisconsin Eau Claire records for Andrea Christensen

32.   U.S. Marine Corps Records of Charles Barklind

33.   Death Certificate of Stella Jurgilanis

34.   Power of Attorney for Stella Jurgilanis

35.   Death Certificate of Aaron Barklind

36.   Obituary of Aaron Barklind

37.   Children’s Services Records of Mavis and Georgia Barklind from

      Sheltering Arms
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38.   Isanti County Court records of Christian Christensen

39.   Anoka County Court records of Shaun Christensen

40.   Court Records (Order of Protection) of David Barklind

41.   “Ghost Killers” – Book by Lynn Toseland

42.   Military Records from the National Archive for Oscar Lahmann

43.   Military File of Oscar Lahmann

44.   Military Records of Charles Barklind

45.   Northern State Hospital Records of Stancy Barklind

46.   Northern State Hospital Records of Mavis Barklind

47.   Divorce Records of Mavis Barklind

48.   Washington County Court Records of Grant Boysa

49.   Traffic Court Records of Alex Christensen

50.   Northern State Hospital records of Stancy Barklind

51.   Record of emergency calls placed by Shaun Christensen

52.   Rochester State Hospital Patient Register for Ruben Barklind

53.   State Hospital Admission card for Ruben Barklind

54.   Connecticut Department of Corrections records of Jeremiah Bynsdorp

55.   Navy discharge records of Jeremiah Bynsdorp

56.   Racine County criminal records of Jeremiah Bynsdorp

57.   Wisconsin driving abstract of Jeremiah Bynsdorp



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      58.    Nursing home records of Christian Christensen from Gracepointe

             Crossing Gables East

      59.    State hospital admissions records of Spencer Christensen

      60.    Allina Health records of Melissa Lotzow

      61.    Noran Neurological Clinic Records of Melissa Lotzow

      62.    Excerpts of Mr. Christensen’s jail communications (phone calls, text

             messages, video calls) previously disclosed by the government

      63.    Civil Lawsuit filed in Case Number 19-CV-02149, Daniel Deneen, as

             Independent Administrator of the Estate of Yingying Zhang, Deceased, vs.

             Thomas G. Miebach, Jennifer R. Maupin, and Brendt A. Christensen

      64.    Court records from Champaign County Case Number 2019-P-155, In the

             Matter of the Estate of Yingying Zhang, Deceased

      65.    Documents from the University of Illinois in response to FOIA Request,

             including Hospitalization Guidelines, Therapeutic Services Manual,

             Emergency Policies and Practices, Trauma Response Protocol

      66.    Livingston County Jail Inmate Handbook

      Mr. Christensen also reserves the right to utilize any exhibits presented by the
government or created from previously disclosed discovery.




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      Respectfully submitted,

             /s/Elisabeth R. Pollock                    /s/ George Taseff
             Assistant Federal Defender                 Assistant Federal Defender
             300 West Main Street                       401 Main Street, Suite 1500
             Urbana, IL 61801                           Peoria, IL 61602
             Phone: 217-373-0666                        Phone: 309-671-7891
             FAX: 217-373-0667                          Fax: 309-671-7898
             Email: Elisabeth_Pollock@fd.org            Email: George_Taseff@fd.org

             /s/ Robert Tucker                          /s/ Julie Brain
             Robert L. Tucker, Esq.                     Julie Brain, Esq.
             7114 Washington Ave                        916 South 2nd Street
             St. Louis, MO 63130                        Philadelphia, PA 19147
             Phone: 703-527-1622                        Phone: 267-639-0417
             Email: roberttuckerlaw@gmail.com           Email: juliebrain1@yahoo.com



                              CERTIFICATE OF SERVICE

      I hereby certify that on June 25, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                          /s/Elisabeth R. Pollock
                                          Assistant Federal Public Defender
                                          300 West Main Street
                                          Urbana, IL 61801
                                          Phone: 217-373-0666
                                          FAX: 217-373-0667
                                          Email: Elisabeth_Pollock@fd.org




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